         Case 8:16-ap-01114-ES Doc 42 Filed 11/30/16                                Entered 11/30/16 21:54:18                Desc
                             Imaged Certificate of Notice                           Page 1 of 3
                                              United States Bankruptcy Court
                                             Central District of California
Peters,
              Plaintiff                                                                           Adv. Proc. No. 16-01114-ES
Easter,
              Defendant
                                                 CERTIFICATE OF NOTICE
District/off: 0973-8                  User: admin                        Page 1 of 1                          Date Rcvd: Nov 28, 2016
                                      Form ID: pdf031                    Total Noticed: 1


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Nov 30, 2016.
dft            +Kent W Easter,   153 Baywood Dr,   Newport Beach, CA 92660-7130

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
NONE.                                                                                       TOTAL: 0

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
pla               Bill Peters
pla               Kelli Peters
pla               Sydnie Peters
                                                                                                                    TOTALS: 3, * 0, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Nov 30, 2016                                             Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on November 28, 2016 at the address(es) listed below:
              Robert H Marcereau    on behalf of Plaintiff Kelli Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Sydnie Peters , nlipowski@mncalaw.com
              Robert H Marcereau    on behalf of Plaintiff Bill Peters , nlipowski@mncalaw.com
              Robert P Goe   on behalf of Defendant Kent W Easter kmurphy@goeforlaw.com,
               rgoe@goeforlaw.com;goeforecf@gmail.com
              United States Trustee (SA)    ustpregion16.sa.ecf@usdoj.gov
              Weneta M Kosmala (TR)    ecf.alert+Kosmala@titlexi.com,
               wkosmala@txitrustee.com;dmf@txitrustee.com;kgeorge@kosmalalaw.com
                                                                                            TOTAL: 6
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  1   MARCEREAU & NAZIF
      Robert H. Marcereau (SBN 211534)
  2   Sy Nazif (SBN 228949)                                           FILED & ENTERED
  3   26000 Towne Centre Drive, Suite 230
      Foothill Ranch, CA 92610
      Tel: (949) 531-6500                                                   NOV 28 2016
  4   Fax: (949) 531-6501
  5                                                                    CLERK U.S. BANKRUPTCY COURT
                                                                       Central District of California

  6   ATTORNEYS FOR CREDITORS and PLAINTIFFS                           BY reid       DEPUTY CLERK
      Kelli Peters, Bill Peters and Sydnie Peters
  7
                                                                 CHANGES MADE BY COURT
  8                           UNITED STATED BANKRUPTCY COURT

  9               CENTRAL DISTRICT OF CALIFORNIA ± SANTA ANA DIVISION

110
      In re:                                           Case No. 8:16-bk-10223-ES
 11                                                    Adversary Case No.: 8:16-ap-01114-ES
      Kent W. Easter, dba Kent Easter
 12                                                    ORDER RE: 3/$,17,))¶6MOTION
      Consulting, dba Law Offices of Kent W.
 13   Easter                                           FOR SUMMARY JUDGMENT

 14
                                                       Date:       November 10, 2016
 15                                                    Time:       10:30 a.m.
      Kelli Peters, Bill Peters and Sydnie Peters,     Department: 5A
 16
 17                  Plaintiffs,

 18                              vs.
      Kent W. Easter, dba Kent Easter
 19   Consulting, dba Law Offices of Kent W.
 20   Easter,
                    Defendants.
 21
 22
 23
      TO ALL PARTIES AND THEIR ATTORNEYS OF RECORD:
 24
               On November 10, 2016, WKH³0RWLRQIRU6XPPDU\Judgment´ WKH³0RWLRQ´ ILOHG
 25
      by Plaintiffs Kelli Peters, Bill Peters and Sydnie Peters (³Plaintiffs´ FDPHRQIRUUHJXODUO\
 26
      scheduled hearing before the Court. Robert H. Marcereau, of Marcereau & Nazif, and
 27
 28   Roger Friedman of Rutan & Tucker appeared as counsel for Plaintiffs; Charity Miller, of


                                                       1
                                                     ORDER
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  1   Goe & Forsythe, LLP, appeared as counsel for Kent W. Easter WKH³Debtor´RU
  2   ³Defendant´ .
  3          The Court, having read and considered WKH0RWLRQ'HIHQGDQW¶V opposition, and the
  4   reply papers filed by the Parties, and having considered the evidence submitted by the
  5
      parties and the arguments of counsel, HEREBY ORDERS that the Motion is GRANTED
  6
      IN PART and DENIED IN PART as follows:
  7
             1.     The Court DENIES 3ODLQWLIIV¶0RWLRn for Summary Judgment without
  8
      prejudice as to Plaintiffs Bill Peters and Sydnie Peters;
  9
             2.     The Court GRANTS partial Summary Adjudication in favor of Plaintiff Kelli
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      Peters as to nondischargability under §523(a)(6). This order is based on, among other
 11
      things, Paragraph 1 of the stipulation signed by Kent W. Easter in which he admits conduct
 12
      sufficient to satisfy each element of nondischargeability under 523(a)(6);
 13
             3.     Given the pending appeal of the Superior Court judgment, at this time the
 14
 15   Court does not rule on the amount of damages (compensatory or punitive) that are

 16   nondischargeable;

 17          4.     The adversary proceeding shall proceed as to all remaining issues, without
 18   prejudice to Plaintiff bringing a further Motion for Summary Judgment.
                                                    ###
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       Date: November 28, 2016
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                                                  ORDER
